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   USPS Tracking
                                          ®                                                                                FAQs    




                                               Track Another Package                  +




                                                                                                                       Remove      
   Tracking Number: 9414726699042184839594

   Your item was delivered to an individual at the address at 3:24 pm on May 9, 2022 in GARDINER,
   ME 04345.

   USPS Tracking Plus® Available               




                                                                                                                                   Feedback
     Delivered, Left with Individual
   May 9, 2022 at 3:24 pm
   GARDINER, ME 04345


   Get Updates         




                                                                                                                              
       Text & Email Updates


                                                                                                                              
       Tracking History


       May 9, 2022, 3:24 pm
       Delivered, Left with Individual
       GARDINER, ME 04345
       Your item was delivered to an individual at the address at 3:24 pm on May 9, 2022 in GARDINER, ME
       04345.



       May 9, 2022, 7:14 am
       Out for Delivery
       GARDINER, ME 04345



https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=7&text28777=&tLabels=9414726699042184839594%2C9414726699042184839587…     1/7
           Case
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       May 9, 2022, 7:03 am
       Arrived at Post Office
       GARDINER, ME 04345



       May 8, 2022, 10:49 pm
       Departed USPS Regional Facility
       SOUTHERN ME DISTRIBUTION CENTER



       May 8, 2022
       In Transit to Next Facility



       May 7, 2022, 1:40 pm
       Arrived at USPS Regional Facility
       SOUTHERN ME DISTRIBUTION CENTER



       May 7, 2022, 12:59 am
       Arrived at USPS Regional Facility
       BOSTON MA DISTRIBUTION CENTER




                                                                                                                                   Feedback
                                                                                                                              
       USPS Tracking Plus®


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       Product Information



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                                                                                                                       Remove      
   Tracking Number: 9414726699042184839587

   Your item was delivered to an individual at the address at 1:39 pm on May 11, 2022 in
   MIDDLEBURG, FL 32068.

   USPS Tracking Plus® Available               




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                                                                            Results                          PageID #: 65
     Delivered, Left with Individual
   May 11, 2022 at 1:39 pm
   MIDDLEBURG, FL 32068


   Get Updates         



                                                            See More      




                                                                                                                       Remove      
   Tracking Number: 9414726699042184839563

   Your item has been delivered to the original sender at 12:55 pm on June 6, 2022 in BEVERLY, MA
   01915.

   USPS Tracking Plus® Available               




                                                                                                                                   Feedback
     Delivered, To Original Sender
   June 6, 2022 at 12:55 pm
   BEVERLY, MA 01915


   Get Updates         




                                                                                                                              
       Text & Email Updates


                                                                                                                              
       Tracking History


       June 6, 2022, 12:55 pm
       Delivered, To Original Sender
       BEVERLY, MA 01915
       Your item has been delivered to the original sender at 12:55 pm on June 6, 2022 in BEVERLY, MA 01915.



       June 6, 2022, 6:10 am
       Out for Delivery
       BEVERLY, MA 01915



https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=7&text28777=&tLabels=9414726699042184839594%2C9414726699042184839587…     3/7
           Case
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                                                                            Results                          PageID #: 66
       June 6, 2022, 4:51 am
       Arrived at Post Office
       BEVERLY, MA 01915



       June 5, 2022, 8:09 pm
       Departed USPS Regional Facility
       BOSTON MA DISTRIBUTION CENTER



       June 5, 2022, 6:34 am
       Arrived at USPS Regional Facility
       BOSTON MA DISTRIBUTION CENTER



       May 25, 2022, 10:15 am
       Unclaimed/Being Returned to Sender
       GARDINER, ME 04345




       Reminder to Schedule Redelivery of your item




                                                                                                                                   Feedback
       May 10, 2022, 11:29 am
       Notice Left (No Authorized Recipient Available)
       GARDINER, ME 04345



       May 9, 2022, 7:14 am
       Out for Delivery
       GARDINER, ME 04345



       May 9, 2022, 7:03 am
       Arrived at Post Office
       GARDINER, ME 04345



       May 8, 2022, 10:49 pm
       Departed USPS Regional Facility
       SOUTHERN ME DISTRIBUTION CENTER



       May 8, 2022
       In Transit to Next Facility




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                                                                            Results                          PageID #: 67
       May 7, 2022, 1:40 pm
       Arrived at USPS Regional Facility
       SOUTHERN ME DISTRIBUTION CENTER



       May 7, 2022, 1:00 am
       Arrived at USPS Regional Facility
       BOSTON MA DISTRIBUTION CENTER




                                                                                                                              
       USPS Tracking Plus®


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       Product Information



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                                                                                                                                   Feedback
                                                                                                                       Remove      
   Tracking Number: 9414726699042184839570

   Your item was delivered to an individual at the address at 3:24 pm on May 9, 2022 in GARDINER,
   ME 04345.

   USPS Tracking Plus® Available               




     Delivered, Left with Individual
   May 9, 2022 at 3:24 pm
   GARDINER, ME 04345


   Get Updates         




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       Text & Email Updates


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       Tracking History


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           Case
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       May 9, 2022, 3:24 pm
       Delivered, Left with Individual
       GARDINER, ME 04345
       Your item was delivered to an individual at the address at 3:24 pm on May 9, 2022 in GARDINER, ME
       04345.



       May 9, 2022, 7:14 am
       Out for Delivery
       GARDINER, ME 04345



       May 9, 2022, 7:03 am
       Arrived at Post Office
       GARDINER, ME 04345



       May 8, 2022, 10:49 pm
       Departed USPS Regional Facility
       SOUTHERN ME DISTRIBUTION CENTER




                                                                                                                                   Feedback
       May 8, 2022
       In Transit to Next Facility



       May 7, 2022, 1:40 pm
       Arrived at USPS Regional Facility
       SOUTHERN ME DISTRIBUTION CENTER



       May 7, 2022, 1:00 am
       Arrived at USPS Regional Facility
       BOSTON MA DISTRIBUTION CENTER




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       USPS Tracking Plus®


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       Product Information



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           Case
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                                Can’t find what you’re looking for?
                         Go to our FAQs section to find answers to your tracking questions.


                                                                FAQs




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   USPS Tracking
                                          ®                                                                             FAQs   




                                                Track Another Package                  +




                                                                                                                      Remove   
   Tracking Number: 9414726699042184839556

   Your item was delivered to an individual at the address at 1:40 pm on May 11, 2022 in
   MIDDLEBURG, FL 32068.

   USPS Tracking Plus® Available                




                                                                                                                               Feedback
     Delivered, Left with Individual
   May 11, 2022 at 1:40 pm
   MIDDLEBURG, FL 32068


   Get Updates         




                                                                                                                          
       Text & Email Updates


                                                                                                                          
       Tracking History


       May 11, 2022, 1:40 pm
       Delivered, Left with Individual
       MIDDLEBURG, FL 32068
       Your item was delivered to an individual at the address at 1:40 pm on May 11, 2022 in MIDDLEBURG, FL
       32068.



       May 10, 2022, 9:26 pm
       Departed USPS Regional Facility
       JACKSONVILLE FL DISTRIBUTION CENTER



https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=3&text28777=&tLabels=9414726699042184839556%2C%2C                     1/2
           Case
6/22/22, 12:22 PM   1:22-cv-00281-LEW Document 1-8  Filed 09/06/22
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                                                                            Results                            PageID #: 71
       May 10, 2022, 9:40 am
       Arrived at USPS Regional Facility
       JACKSONVILLE FL DISTRIBUTION CENTER



       May 9, 2022
       In Transit to Next Facility



       May 7, 2022, 12:59 am
       Arrived at USPS Regional Facility
       BOSTON MA DISTRIBUTION CENTER




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       USPS Tracking Plus®


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       Product Information




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                                Can’t find what you’re looking for?
                         Go to our FAQs section to find answers to your tracking questions.


                                                                 FAQs




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